                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
                     Plaintiff              )
      v.                                    )       CASE NO.: 3:21-cr-00264-2
                                            )
                                            )
JOSHUA H. SMITH                             )
                                            )
                     Defendant              )

                        NOTICE OF INTENT TO CHANGE PLEA

       COMES NOW the defendant, JOSHUA H. SMITH, by and through the undersigned

counsel, and hereby notifies this Honorable Court of the defendant’s intent to change his plea

of NOT GUILTY to a plea of GUILTY as to Count Two of the Indictment, in accordance with

a plea agreement between the Defendant, JOSHUA H. SMITH and The United States of

America, by and through its respective counsel in this matter. This notice is filed to alert the

Court that the defendant is indeed prepared to go forward.

                                     Respectfully submitted this 7th day of October, 2022.

                                            PHILLIP S. GEORGES, PLLC

                                            /s/ Phillip S. Georges
                                            Phillip S. Georges
                                            SBN: 038360
                                            2303 21st Ave. S., Suite 204
                                            Nasvhille, TN 37212
                                            Phone: 615-486-4115 x. 700
                                            Fax: 615-576-8668
                                            phil@wolfpacklawyers.com
                                            COUNSEL FOR DEFENDANT
                                            JOSHUA H. SMITH




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed with the Clerk
using the ECF system, on the 7th day of October, 2022 to the following:

Amanda J. Klopf, Esquire                             David Pritchard, Esquire
U.S. Attorney’s Office (Nashville)                   Assistant United States Attorney
Middle District of Tennessee                         167 N. Main St., Suite 800
719 Church St., Suite 3300                           Memphis, TN 38103
Nashville, TN 37203                                  david.pritchard2@usdoj.gov
Amanda.klopf@usdoj.gov

John P. Taddei, Esquire                              David Rivera, Esquire
U.S. Department of Justice                           Barrettt, Johnston, Martin & Garrison, LLC
Public Integrity Section                             414 Union Street, Suite 900
1301 New York Ave. NW                                Nashville, TN 37219
Washington, DC 20530                                 drivera@barrettjohnston.com
John.taddei@usdoj.gov

Paul J. Bruno, Esquire                               Jerry E. Martin, Esquire
Evans, Bulloch, Parker PLLC                          Barrettt, Johnston, Martin & Garrison, LLC
302 North Spring St.                                 414 Union Street, Suite 900
PO Box 398                                           Nashville, TN 37219
Murfreesboro, TN 37133                               jmartin@barrettjohnston.com
pauljbruno@bfhelaw.com


                                                     PHILLIP S. GEORGES, PLLC

                                                     /s/ Phillip S. Georges
                                                     Phillip S. Georges
                                                     COUNSEL FOR DEFENDANT
                                                     JOSHUA H. SMITH




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